       Case 1:22-cv-00983-VEC          Document 303
                                                282           Filed 11/05/24
                                                                    09/19/24   Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

NIKE, INC.,

                              Plaintiff,

               v.                                                     No. 22 CV 983 (VEC) (SN)

STOCKX LLC,

                              Defendant.


         DECLARATION OF KATHRYN C. SABA IN SUPPORT OF
 DEFENDANT STOCKX LLC’S MEMORANDUM OF LAW IN FURTHER SUPPORT
         OF ITS MOTION FOR PARTIAL SUMMARY JUDGMENT

       I, Kathryn C. Saba, an attorney duly admitted in the State of New York, and not a party to

the above-captioned case, declare the following to be true under penalty of perjury:

1.     I am counsel for StockX LLC (“StockX”) in the above-captioned case, and as such I am

familiar with the facts and circumstances set forth herein.

2.     I submit this declaration in support of StockX’s Responses to Nike, Inc.’s Local Rule

56.1 Counterstatement of Disputed Facts and in support of StockX’s Memorandum of Law in

Further Support of its Motion for Partial Summary Judgment.

3.     Attached as Exhibit 1 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number STX0209132.

4.     Attached as Exhibit 2 is a true and correct copy of the “For Consumers FAQ” webpage

on the REVIEWS.IO website on September 13, 2024, which was obtained at my direction from

https://support.reviews.io/en/articles/9184808-for-consumers-faq.

5.     Attached as Exhibit 3 is a true and correct copy of excerpts of the deposition transcript of

Jacob Fenton, dated December 2, 2022.
      Case 1:22-cv-00983-VEC           Document 303
                                                282        Filed 11/05/24
                                                                 09/19/24      Page 2 of 3




6.     Attached as Exhibit 4 is a true and correct copy of excerpts of the deposition transcript of

John Lopez, dated February 23, 2023.

7.     Attached as Exhibit 5 is a true and correct copy of U.S. Patent No. 12,052,230 B2, issued

on July 30, 2024.

8.     Attached as Exhibit 6 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0160709–STX0160710.

9.     Attached as Exhibit 7 is a true and correct copy of a document produced by StockX in

this matter and bearing the Bates number range STX0192490–STX0192491.

10.    Attached as Exhibit 8 is a true and correct copy of excerpts of the deposition transcript of

Brock Huber, dated February 22, 2023.

11.    Attached as Exhibit 9 is a true and correct copy of excerpts of the deposition transcript of

Sarah Butler, dated August 15, 2023.

12.    Attached as Exhibit 10 is a true and correct copy of the “Ugg: The Buyers Guide” article,

dated January 18, 2023, which was obtained at my direction on September 17, 2024, from

https://stockx.com/news/ugg-the-buyers-guide/.

13.    Attached as Exhibit 11 is a true and correct copy of the “The Buyer’s Guide: Vans”

article, last updated May 13, 2022, which was obtained at my direction on September 17, 2024,

from https://stockx.com/news/the-buyers-guide-vans/.

14.    Attached as Exhibit 12 is a true and correct copy of the “The Buyer’s Guide: Yeezy

Slides” article, last updated February 15, 2022, which was obtained at my direction on

September 17, 2024, from https://stockx.com/news/the-buyers-guide-yeezy-slides/.




                                                 2
      Case 1:22-cv-00983-VEC           Document 303
                                                282        Filed 11/05/24
                                                                 09/19/24      Page 3 of 3




15.    Attached as Exhibit 13 is a true and correct copy of the “Women Designers To Watch in

2023” article, last updated March 13, 2023, which was obtained at my direction on September

17, 2024, from https://stockx.com/news/women-designers-to-watch-in-2023/.

16.    Attached as Exhibit 14 is a true and correct copy of the “Outerwear Anyone Would

Love” article, dated November 15, 2023, which was obtained at my direction on September 17,

2024, from https://stockx.com/news/outerwear-anyone-would-love/.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

Dated: September 19, 2024
       New York, NY
                                             By:     /s/ Kathryn C. Saba
                                                     Kathryn C. Saba




                                                 3
